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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     CARRIE MARIE SULAK
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-04-0218 MCE
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )
                                     )
15   CARRIE MARIE SULAK, et al.      )     Date: November 22, 2005
                                     )     Time: 8:30 a.m.
16                  Defendants.      )     Judge: Hon. Morrison C. England
                                     )
17   _______________________________ )
18        It is hereby stipulated and agreed to between the United States of
19   America though Phil Ferrari, Assistant U.S. Attorney and defendant,
20   CARRIE MARIE SULAK, by and through her counsel, Dennis S. Waks,
21   Supervising Assistant Federal Defender, that the status conference of
22   November 1, 2005 be vacated and a change of plea be set for November
23   22, 2005 at 8:30 a.m.
24        This continuance is being requested because defense counsel
25   requires additional time to review discovery, continue our
26   investigation, and to interview our client and other witnesses.
27   Furthermore, the parties are negotiating a plea agreement and need time
28   to reduce it to writing and provide it to the Court.         Defense counsel
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1    needs time to discuss the plea with the prosecutor and with the
2    defendant.
3         Speedy trial time is to be excluded from the date of this order
4    through the date of the change of plea hearing set for November 22,
5    2005, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 based
6    upon continuity of counsel and defense preparation.
7    Dated:    October 28, 2005
                                               Respectfully submitted,
8
                                               QUIN DENVIR
9                                              Federal Defender
10
                                               /s/ Dennis S. Waks
11                                             ________________________________
                                               DENNIS S. WAKS
12                                             Supervising Assistant Federal
                                               Defender
13                                             Attorney for Defendant
                                               CARRIE MARIE SULAK
14
15
     Dated:    October 28, 2005
16
                                               MCGREGOR W. SCOTT
17                                             United States Attorney
18                                             /s/ Dennis S. Waks for
                                               _________________________________
19                                             PHIL FERRARI
                                               Assistant U.S. Attorney
20
                                          O R D E R
21
     IT IS SO ORDERED.
22
     Dated: November 3, 2005
23
24
25                                           _____________________________
26                                           MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
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